                        Case 3:23-cv-03417-VC         Document 413     Filed 01/31/25    Page 1 of 21



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                   18                              UNITED STATES DISTRICT COURT

                   19                           NORTHERN DISTRICT OF CALIFORNIA
                   20                                   SAN FRANCISCO DIVISION
                   21   RICHARD KADREY, et al.,                          Case No. 3:23-cv-03417-VC-TSH
                   22      Individual and Representative Plaintiffs,     DEFENDANT META PLATFORMS, INC.’S
                                                                         NOTICE OF MOTION AND MOTION TO
                   23          v.                                        DISMISS PLAINTIFFS’ THIRD AMENDED
                                                                         COMPLAINT (RULES 12(B)(1) AND 12(B)(6))
                   24   META PLATFORMS, INC., a Delaware
                        corporation;                                     Date:      February 27, 2025
                   25                                                    Time:      10:00 a.m.
                                                        Defendant.       Dept:      Courtroom 4 – 17th Floor
                   26                                                    Judge:     Vince Chhabria
                   27                                                    Trial Date: None
                                                                         Date Action Filed: July 7, 2023
                   28
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ATTORNEYS AT LAW                                                                    DEFENDANT META PLATFORMS, INC.’S
                                                                                          MOTION TO DISMISS THE TAC
                                                                                               3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC                    Document 413                    Filed 01/31/25             Page 2 of 21



                    1                                                    TABLE OF CONTENTS
                    2                                                                                                                                         Page
                    3   I.     INTRODUCTION..................................................................................................................... 1
                    4   II.    SUMMARY OF RELEVANT FACTS AND ALLEGATIONS ........................................................... 2
                               A.    The Original Complaint and Motion to Dismiss ..................................................... 2
                    5
                               B.    The TAC’s New Allegations of Purported Wrongdoing ........................................ 3
                    6   III.   LEGAL STANDARDS.............................................................................................................. 4
                    7          A.    Federal Rule of Civil Procedure 12(b)(1) ............................................................... 4
                               B.    Federal Rule of Civil Procedure 12(b)(6) ............................................................... 4
                    8
                        IV.    ARGUMENT .......................................................................................................................... 5
                    9          A.    The TAC Fails to State a Claim Under § 1202(b)(1) of the DMCA (Claim
                                     2) ............................................................................................................................. 5
                   10
                                     1.         Plaintiffs Lack Standing Due to Failure to Allege a Cognizable
                   11                           Injury ........................................................................................................... 5
                                     2.         Plaintiffs Fail to State a Claim under §1202(b)(1) ...................................... 8
                   12
                               B.    The TAC Fails to State a Claim for Violation of the CDAFA (Claim 3) ............. 10
                   13                1.         The Copyright Act Preempts Plaintiffs’ CDAFA Claim .......................... 10
                   14                2.         The TAC Fails to Plausibly Allege a Violation of Section 502(c)(2) ....... 13
                        V.     CONCLUSION ...................................................................................................................... 15
                   15

                   16

                   17

                   18

                   19

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                   24

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                                                                                             i                            MOTION TO DISMISS THE TAC
                                                                                                                               3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC                      Document 413                   Filed 01/31/25           Page 3 of 21



                    1                                                   TABLE OF AUTHORITIES

                    2                                                                                                                                    Page(s)

                    3   Cases
                        Alan Ross Mach. Corp. v. Machinio Corp,
                    4      2019 WL 1317664 (N.D. Ill. Mar. 22, 2019) ............................................................................ 5
                    5   Altera Corp. v. Clear Logic, Inc.,
                            424 F.3d 1079, 1089 (9th Cir. 2005)....................................................................................... 13
                    6
                        Andersen v. Stability AI Ltd.,
                    7      700 F.Supp.3d 853 (N.D. Cal. Oct. 30, 2023)........................................................................... 8
                    8   Ashcroft v. Iqbal,
                           556 U.S. 662 (2009) .............................................................................................................. 5, 6
                    9
                        Bell Atl. Corp. v. Twombly,
                   10       550 U.S. 544 (2007) .................................................................................................................. 4
                   11   Biden v. Ziegler,
                           737 F. Supp. 3d 958, 976 (C.D. Cal. 2024) ............................................................................ 14
                   12
                        Capitol Audio Access, Inc. v. Umemoto,
                   13      980 F. Supp. 2d 1154, 1156 (E.D. Cal. 2013) ......................................................................... 13
                   14   Claridge v. RockYou, Inc.,
                           785 F. Supp. 2d 855 (N.D. Cal. 2011) .................................................................................... 14
                   15
                        Colony Cove Props., LLC v. City of Carson,
                   16      640 F.3d 948 (9th Cir. 2011)..................................................................................................... 4
                   17   Cottle v. Plaid Inc.,
                           536 F. Supp. 3d 461 (N.D. Cal. 2021) .................................................................................... 15
                   18
                        Dahlia v. Rodriguez,
                   19      735 F.3d 1060 (9th Cir. 2013)................................................................................................... 5
                   20   Daniels-Hall v. Nat’l Educ. Ass’n,
                           629 F.3d 992 (9th Cir. 2010)..................................................................................................... 4
                   21
                        Davis v. FEC,
                   22      554 U.S. 724 (2008) .................................................................................................................. 5
                   23   Doe 1 v. Github, Inc.,
                           672 F. Supp. 3d 837 (N.D. Cal. 2023) .................................................................................. 7, 8
                   24
                        Doe v. Meta Platforms, Inc.,
                   25      690 F.Supp.3d 1064 (N.D. Cal. Sept. 7, 2023) ....................................................................... 15
                   26   Grosso v. Miramax Film Corp.,
                           383 F.3d 965, 968 (9th Cir. 2004)........................................................................................... 13
                   27
                        Heiting v. Taro Pharms. USA, Inc.,
                   28      709 F. Supp. 3d 1007 (C.D. Cal. 2023) .................................................................................. 15
COOLEY LLP
ATTORNEYS AT LAW                                                                                                    DEFENDANT META PLATFORMS, INC.’S
                                                                                             ii                           MOTION TO DISMISS THE TAC
                                                                                                                               3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC                      Document 413                   Filed 01/31/25           Page 4 of 21



                    1                                                   TABLE OF AUTHORITIES
                                                                              (continued)
                    2                                                                                                                                   Page(s)

                    3   Kaplan v. Rose,
                           49 F.3d 1363 (9th Cir. 1994)............................................................................................... 5, 14
                    4
                        Laws v. Sony Music Entm’t, Inc.,
                    5      448 F.3d 1134 (9th Cir. 2006)........................................................................................... 11, 12

                    6   Lujan v. Defenders of Wildlife,
                           504 U.S. 555 (1992) .................................................................................................................. 4
                    7
                        Maloney v. T3Media, Inc.,
                    8      853 F.3d 1004 (9th Cir. 2017)........................................................................................... 11, 12

                    9   Mills v. Netflix, Inc.,
                           2020 WL 548558 (C.D. Cal. Feb. 3, 2020) ............................................................................... 9
                   10
                        Nowak v. Xapo, Inc.,
                   11     2020 WL 6822888 (N.D. Cal. Nov. 20, 2020).......................................................................... 5

                   12   Phillips v. U.S. Customers & Border Prot.,
                           74 F.4th 986 (9th Cir. 2023) ..................................................................................................... 7
                   13
                        Philpot v. Alternet Media, Inc.,
                   14      2018 WL 6267876 (N.D. Cal. Nov. 30, 2018).......................................................................... 8

                   15   Pratt v. Higgins,
                           2023 WL 4564551 (N.D. Cal. July 17, 2023) ......................................................................... 15
                   16
                        Raw Story Media v. OpenAI,
                   17      2024 WL 4711729 (S.D.N.Y. Nov. 7, 2024) ........................................................................ 6, 7

                   18   Regal Art & Gifts, Inc. v. Fusion Products, Ltd.,
                           2016 WL 454116 (N.D. Cal. Feb. 5, 2016) ............................................................................ 12
                   19
                        Somers v. Apple, Inc.,
                   20      729 F.3d 953 (9th Cir. 2013)..................................................................................................... 4

                   21   Spokeo, Inc. v. Robins,
                           136 S. Ct. 1540 (2016) .............................................................................................................. 4
                   22
                        Steele v. Bongiovi,
                   23       784 F. Supp. 2d 94 (D. Mass. 2011) ......................................................................................... 5

                   24   Stevens v. Corelogic, Inc.,
                            899 F.3d 666 (9th Cir. 2018)..................................................................................................... 8
                   25
                        Stevens v. Harper,
                   26       213 F.R.D. 358 (E.D. Cal. 2002) .......................................................................................... 4, 9

                   27   Sunbelt Rentals, Inc. v. Victor,
                           43 F. Supp. 3d 1026 (N.D. Cal. 2014) .................................................................................... 10
                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                                                   DEFENDANT META PLATFORMS, INC.’S
                                                                                            iii                          MOTION TO DISMISS THE TAC
                                                                                                                              3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC                         Document 413                    Filed 01/31/25              Page 5 of 21



                    1                                                      TABLE OF AUTHORITIES
                                                                                 (continued)
                    2                                                                                                                                             Page(s)

                    3   Transgo, Inc. v. Ajac Transmission Parts Corp.,
                           768 F.2d 1001 (9th Cir. 1985)................................................................................................. 13
                    4
                        TransUnion LLC v. Ramirez,
                    5      594 U.S. 413 (2021) .......................................................................................................... 5, 6, 7

                    6   Tremblay v. OpenAI, Inc.,
                           2024 WL 3640501 (N.D. Cal. July 30, 2024) ......................................................................... 11
                    7
                        U.S. v. Christensen,
                    8      828 F.3d 763 (9th Cir. 2015)................................................................................................... 13

                    9   VBConversions LLC v. Nakach,
                          No. 2:25-cv-09372 (C.D. Cal. Mar. 18, 2016), ECF No. 58 (Anderson, J.) ........................... 12
                   10
                        Victor Elias Photography, LLC v. Ice Portal, Inc.,
                   11       43 F.4th 1313 (11th Cir. 2022) ................................................................................................. 9

                   12   West v. Ronquillo-Morgan,
                           526 F. Supp. 3d 737, 746 (C.D. Cal. 2020) ............................................................................ 14
                   13   Statutes
                   14   17 U.S.C.
                           § 102 ........................................................................................................................................ 11
                   15      § 103 ........................................................................................................................................ 11
                           § 106 ........................................................................................................................................ 11
                   16      § 106(1) ................................................................................................................................... 12
                           § 301 .......................................................................................................................................... 3
                   17      § 301(a) ................................................................................................................................... 11
                           § 1201 ........................................................................................................................................ 5
                   18      § 1202 ........................................................................................................................................ 5
                           § 1202(a)(1)............................................................................................................................... 9
                   19      § 1202(b) ............................................................................................................................... 2, 9
                           § 1202(b)(1) ..................................................................................................................... passim
                   20      § 1203 ................................................................................................................................ 1, 7, 8
                           § 1203(a) ................................................................................................................................... 5
                   21
                        Cal. Pen. Code
                   22      § 502(a) ................................................................................................................................... 13
                           § 502(c)(2)........................................................................................................................ passim
                   23      § 502(e)(1)......................................................................................................................... 13, 15

                   24   Other Authorities
                        Fair Credit Reporting Act. 594 U.S. at 418–21.............................................................................. 6
                   25
                        Fed. R. Civ. P.
                   26      9(b) ................................................................................................................................ 5, 13, 14
                           12(b)(1) ................................................................................................................................. 4, 6
                   27      12(b)(6) ................................................................................................................................. 1, 4
                   28   U.S. Const. Art. III ................................................................................................................. passim
COOLEY LLP
ATTORNEYS AT LAW                                                                                                          DEFENDANT META PLATFORMS, INC.’S
                                                                                                 iv                             MOTION TO DISMISS THE TAC
                                                                                                                                     3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC          Document 413           Filed 01/31/25    Page 6 of 21



                    1          PLEASE TAKE NOTICE THAT, on February 27, 2025 at 10:00 a.m., Defendant Meta
                    2   Platforms, Inc. (“Meta”) will and hereby does move, under Fed. R. Civ. P. 12(b)(6), to dismiss
                    3   Claims II and III of the Third Amended Complaint (Dkt. 407) (“TAC”) with prejudice.
                    4   I.     INTRODUCTION
                    5          At the crux of this case is an issue of extraordinary importance to the future of generative
                    6   AI development in the United States: whether Meta’s use of publicly available datasets to train its
                    7   open source large language models (“LLMs”)—transformational technology powering innovation,
                    8   productivity, and creativity—constitutes fair use under U.S. copyright law. The case should remain
                    9   so focused, despite Plaintiffs’ attempts to distract from that core issue by loading up their pleading
                   10   with unsubstantiated new claims. For reasons previewed in Meta’s opposition to Plaintiffs’ Motion
                   11   to Amend and further explained below, Plaintiffs’ last-minute claims (II and III) fail.
                   12          First, Plaintiffs allege that Meta violated the Digital Millennium Copyright Act, 17 U.S.C.
                   13   § 1202(b)(1) (“DMCA”) (Claim II), by removing copyright management information (“CMI”) from
                   14   their books before using them as training data, and that Meta did so to induce, facilitate, or conceal
                   15   its own infringement and that of others. As a threshold defect, Plaintiffs fail to allege that they
                   16   were injured by Meta’s removal of CMI, dooming their claim for lack of Article III standing and
                   17   statutory standing under Section 1203. The TAC also lacks allegations supporting a plausible
                   18   inference that Meta’s removal of CMI aided or concealed infringement, much less that Meta
                   19   intended this result. Plaintiffs’ own allegations underscore that any CMI removal was done to
                   20   improve training by eliminating repetitive text, not to promote infringement of Plaintiffs’ books.
                   21          Second, Plaintiffs’ claim under the California Comprehensive Computer Data Access and
                   22   Fraud Act (“CDAFA”), California Penal Code § 502(c)(2) (Claim III), is merely a claim of
                   23   copyright infringement by another name. They frame the claim in terms of Meta’s unauthorized
                   24   “access” to their copyrighted works, but “access” here just means “copy,” i.e., the exclusive purview
                   25   of the Copyright Act. Even setting aside preemption, CDAFA prohibits unauthorized intrusion
                   26   into plaintiff’s computer systems or data; it was not designed to entitle any “data” owner to sue
                   27   when a party makes authorized access to or use of third-party datasets on third-party systems.
                   28          Finally, Plaintiffs’ new theory of copyright infringement based on Meta’s alleged
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                                                                          1                     MOTION TO DISMISS THE TAC
                                                                                                     3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC          Document 413            Filed 01/31/25   Page 7 of 21



                    1   “distribution” of datasets is also facially defective, as the TAC contains no allegation, much less
                    2   facts plausibly establishing, that Meta distributed through “seeding” any of Plaintiff’s works at
                    3   issue. Plaintiffs do not plead a single instance in which any part of any book was, in fact,
                    4   downloaded by a third party from Meta via torrent, much less that Plaintiffs’ books were somehow
                    5   distributed by Meta. However, in light of the Court’s recent order allowing limited discovery and
                    6   an expert report from Meta on seeding, Meta does not seek dismissal of that claim here. Meta looks
                    7   forward to setting the record straight and debunking this meritless allegation on summary judgment.
                    8          The Court should dismiss new Claims II and III in their entirety.1
                    9   II.    SUMMARY OF RELEVANT FACTS AND ALLEGATIONS
                   10          A.      The Original Complaint and Motion to Dismiss
                   11          Plaintiffs’ original Complaint alleged that Meta violated Section 1202(b)(1) of the DMCA
                   12   by “intentionally remov[ing] CMI from the Plaintiffs’ Infringed Works” with knowledge or reason
                   13   to know that doing so “would facilitate copyright infringement by concealing the fact that every
                   14   output from the LLaMA language models is an infringing derivative work, synthesized entirely
                   15   from expressive information found in the training data.” Dkt. 1 ¶¶ 49, 52. On September 18, 2023,
                   16   Meta moved to dismiss the Complaint in its entirety, except for Plaintiffs’ claim for direct copyright
                   17   infringement related to training. As to Plaintiffs’ Section 1202(b) claim, Meta argued, and the
                   18   Court agreed, that the claim was deficient for several reasons, including that Plaintiffs failed to
                   19   identify any examples of allegedly infringing outputs. Dkt. 56 at 3 (dismissing claim). At the
                   20   hearing, the Court noted that “maybe” Plaintiffs could state a DMCA claim by alleging that an AI
                   21   model reproduced their works without the CMI included. See 11/9/23 Tr. at 21 (Dkt. 52); id. at 23
                   22   (stating that the DMCA theory “could ... make sense” if “a user made a query for Sarah Silverman’s
                   23   book, and Sarah Silverman’s book was reproduced without the CMI”). Plaintiffs did not allege that
                   24   theory (id. at 26), however, and have not since.
                   25          Plaintiffs’ original complaint also alleged state law claims for negligence and unfair
                   26
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                          Although neither Plaintiffs nor the Court addressed the revised class definition in the proposed
                   27   TAC, Meta believes that the definition is inappropriate and prejudicial given that it was modified
                        and expanded after the close of discovery. However, based on the Court’s prior comments and
                   28   bifurcation of class certification, Meta does not herein move to strike the claim. Meta asks the
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                        Court for leave to file a motion to strike should any of Plaintiffs’ claims survive summary judgment.
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                                                                           2                     MOTION TO DISMISS THE TAC
                                                                                                      3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC          Document 413          Filed 01/31/25   Page 8 of 21



                    1   competition predicated on Meta’s use of their books to train Meta’s LLMs—the same conduct
                    2   Plaintiffs had separately pleaded as “copyright infringement.” As the Court held, each was styled
                    3   in the language of the state causes of action, but ultimately were “premised on the rights protected
                    4   by the Copyright Act” and preempted under 17 U.S.C. § 301. Dkt. 56 at 4 (dismissing claims).
                    5          B.      The TAC’s New Allegations of Purported Wrongdoing
                    6          In the TAC, Plaintiffs assert new, but familiar claims under DMCA and California state
                    7   law. As to the CMI claim, they now allege that, after downloading the LibGen dataset in April
                    8   2023—i.e., after the public release of Llama 1—Meta removed CMI from books included in that
                    9   dataset “to facilitate training its Llama models by ‘cleaning’ them for easier ‘ingestion’ and also
                   10   to reduce the chance that the models will memorize [CMI].” TAC ¶ 90. According to Plaintiffs,
                   11   “Meta knew or had reasonable grounds to know that” doing so “would induce, enable, facilitate, or
                   12   conceal its own copyright infringement or the copyright infringement of others.” Id. ¶ 108.
                   13          Plaintiffs’ revamped DMCA claim is not expressly tied to the prior theory rejected by the
                   14   Court: that every Llama output is an infringing derivative of the models’ training data. Dkt 56 at
                   15   3. But just like the prior claim, the new claim presupposes that “others” have used Llama to
                   16   generate outputs that infringe Plaintiffs’ books, without actually identifying a single example that
                   17   this ever occurred. That is the same omission that doomed Plaintiffs’ earlier DMCA claims. Id.
                   18   As to Plaintiffs’ allegation that Meta’s removal of CMI aids or conceals Meta’s own infringement
                   19   (TAC ¶ 108), the TAC suggests that this has something to do with memorization and regurgitation
                   20   of CMI by Meta’s LLMs, but the connection between the two is left unexplained.
                   21          With respect to Plaintiffs’ CDAFA claim, they allege that Meta “knowingly accessed and
                   22   used data owned by Plaintiffs (i.e., the Infringed Works) without permission in violation of
                   23   California Penal Code § 502(c)(2).” Id. ¶ 111. Plaintiffs’ basis for this allegation is Meta’s
                   24   downloading of portions of LibGen and other “shadow library” data, which Plaintiffs allege contain
                   25   their copyrighted works, via torrent systems and alleged “seeding” of that data, which Plaintiffs
                   26   claim resulted in Meta “acting as a distribution point for other users of pirated books.” Id. ¶¶ 43,
                   27   46, 87. In other words, Plaintiffs allege that by accessing torrent systems to obtain training data,
                   28   which Plaintiffs characterize as “pirated, unlicensed, hacked, downloaded, and/or scraped versions
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                                                                         3                     MOTION TO DISMISS THE TAC
                                                                                                    3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC           Document 413            Filed 01/31/25     Page 9 of 21



                    1   of the Infringed Works,” and “sharing, distributing, and/or uploading the same works in the
                    2   process,” Meta violated § 502(c)(2) of CDAFA. Id. ¶ 111. These same allegations now also form
                    3   the basis for Plaintiffs’ new distribution theory of direct copyright infringement. Id. ¶¶ 87, 101.
                    4   III.    LEGAL STANDARDS
                    5           A.      Federal Rule of Civil Procedure 12(b)(1)
                    6           The Article III “case or controversy” requirement “ensure[s] that federal courts do not
                    7   exceed their authority” by limiting their subject matter jurisdiction to cases in which plaintiffs have
                    8   standing. Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). To plead Article III standing, “the
                    9   plaintiff must ‘clearly ... allege facts demonstrating’” that it has suffered an injury in fact, i.e. “‘an
                   10   invasion of a legally protected interest’ that is ‘concrete and particularized’ and ‘actual or imminent,
                   11   not conjectural or hypothetical.’” Id. at 338–339 (quoting Lujan v. Defenders of Wildlife, 504 U.S.
                   12   555, 560 (1992)). Where a defendant challenges a plaintiff’s Article III standing based on the
                   13   insufficiency of the allegations in the complaint, a court applies the same standard of review it
                   14   applies on a motion to dismiss under Rule 12(b)(6). See Stevens v. Harper, 213 F.R.D. 358, 370
                   15   (E.D. Cal. 2002) (“On a motion to dismiss for lack of standing, ... the court is not obliged to accept
                   16   allegations of future injury which are overly generalized, conclusory, or speculative” and “[i]n the
                   17   absence of such specific factual allegations, the court may not assume that jurisdiction exists by
                   18   ‘embellishing otherwise deficient allegations of standing.’” (cleaned up); see also Colony Cove
                   19   Props., LLC v. City of Carson, 640 F.3d 948, 955 (9th Cir. 2011) (applying Iqbal’s standards to a
                   20   motion to dismiss for lack of subject matter jurisdiction and for failure to state a claim).
                   21           B.      Federal Rule of Civil Procedure 12(b)(6)
                   22           “Dismissal under Rule 12(b)(6) is proper when the complaint either (1) lacks a cognizable
                   23   legal theory or (2) fails to allege sufficient facts to support a cognizable legal theory.” Somers v.
                   24   Apple, Inc., 729 F.3d 953, 959 (9th Cir. 2013). To avoid dismissal, a complaint must plead “enough
                   25   facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.
                   26   544, 570 (2007). The court need not “accept as true allegations that contradict … matters properly
                   27   subject to judicial notice, or allegations that are merely conclusory, unwarranted deductions of fact,
                   28   or unreasonable inferences.” Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010);
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                                                                            4                      MOTION TO DISMISS THE TAC
                                                                                                        3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC         Document 413        Filed 01/31/25      Page 10 of 21



                    1   Dahlia v. Rodriguez, 735 F.3d 1060, 1076 (9th Cir. 2013). “Where a complaint pleads facts that are
                    2   merely consistent with a defendant’s liability, it stops short of the line between possibility and
                    3   plausibility of entitlement to relief.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (cleaned up).
                    4          “Because [the] CDAFA claim sounds in fraud, it is subject to Rule 9(b) pleading standards.”
                    5   Nowak v. Xapo, Inc., 2020 WL 6822888, at *5 (N.D. Cal. Nov. 20, 2020) (cleaned up). Plaintiffs
                    6   must “state with particularity the circumstances regarding fraud,” Fed. R. Civ. P. 9(b), which means
                    7   “stat[ing] precisely the time, place, and nature of the misleading statements, misrepresentations,
                    8   and specific acts of fraud.” Kaplan v. Rose, 49 F.3d 1363, 1370 (9th Cir. 1994).
                    9   IV.    ARGUMENT
                   10          A.    The TAC Fails to State a Claim Under § 1202(b)(1) of the DMCA (Claim 2)
                   11          The TAC alleges that Meta violated Section 1202(b)(1) by removing CMI from the asserted
                   12   works to conceal Meta’s infringement of those works and (unidentified) infringement of others.
                   13   The Court expressed its skepticism regarding this claim at the hearing on Plaintiffs’ Motion for
                   14   Leave to Amend. Jan. 9, 2025 Tr. at 4 (“I’m maybe a little skeptical about the merits of the [DMCA]
                   15   claim, but…we could deal with that on a motion to dismiss”). Indeed, this theory doesn’t add up.
                   16   Plaintiffs allege no injury; nor do they plausibly articulate how removal of CMI from books prior
                   17   to training could conceal or facilitate infringement, let alone that Meta acted with the requisite
                   18   intent. Each of these omissions is fatal to Plaintiffs’ DMCA claim.
                   19                  1.      Plaintiffs Lack Standing Due to Failure to Allege a Cognizable Injury
                   20          Only persons “injured by a violation of section 1201 or 1202” are authorized to “bring a
                   21   civil action” under those provisions. 17 U.S.C. § 1203(a). In addition, Plaintiffs “bear the burden
                   22   of demonstrating that they have [Article III] standing.” TransUnion LLC v. Ramirez, 594 U.S. 413,
                   23   430–31 (2021); Steele v. Bongiovi, 784 F. Supp. 2d 94, 97–98 (D. Mass. 2011) (dismissing DMCA
                   24   claim for failure to plead injury); Alan Ross Mach. Corp. v. Machinio Corp, 2019 WL 1317664, at
                   25   *4 (N.D. Ill. Mar. 22, 2019) (same). As “standing is not dispensed in gross,” a plaintiff must
                   26   establish standing “for each claim he seeks to press and for each form of relief that is sought.”
                   27   Davis v. FEC, 554 U.S. 724, 734 (2008) (cleaned up). Standing requires that “the plaintiff’s injury
                   28   in fact be concrete—that is, real and not abstract.” TransUnion, 594 U.S. at 424, 426 (courts
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                                                                         5                      MOTION TO DISMISS THE TAC
                                                                                                     3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC           Document 413          Filed 01/31/25       Page 11 of 21



                    1   “cannot treat an injury as concrete for Article III purposes based only on Congress’s say-so”)
                    2   (cleaned up). A plaintiff must allege an injury with a “close historical or common-law analogue”
                    3   such as “physical, monetary, or cognizable intangible harm traditionally recognized as providing a
                    4   basis for a lawsuit in American courts,” to plead a concrete injury. Id. at 424, 427.
                    5           Here, Plaintiffs fail to plausibly plead any cognizable injury stemming from Meta’s alleged
                    6   removal of CMI from Plaintiffs’ asserted works. The TAC contains only a single, threadbare
                    7   assertion that “Plaintiffs and the Class have been injured by Meta’s removal of the CMI from the
                    8   Infringed Works[.]” TAC ¶ 109 (emphasis added). However, “the mere removal of identifying
                    9   information from a copyrighted work” is not, in and of itself, a cognizable injury. Raw Story Media,
                   10   Inc. v. OpenAI, Inc., 2024 WL 4711729, at *4 (S.D.N.Y. Nov. 7, 2024) (citing TransUnion, 594
                   11   U.S. at 424). In other words, Plaintiffs’ conclusory assertion that it was injured by CMI removal –
                   12   devoid of any facts as to how or why Plaintiffs were supposedly injured – is insufficient to establish
                   13   standing under either Article III or the Copyright Act. Iqbal, 556 U.S. at 678.
                   14           The Supreme Court’s TransUnion decision is instructive. There, TransUnion incorrectly
                   15   labeled the plaintiffs as potential terrorists in its credit files, violating the Fair Credit Reporting Act.
                   16   594 U.S. at 418–21. The Court held that although all of the plaintiffs’ credit files were affected by
                   17   TransUnion’s statutory violation, only those whose information was actually disseminated had
                   18   Article III standing. Id. at 442. Specifically, those individuals articulated a concrete injury in the
                   19   form of “reputational harm.” Id. at 432. In contrast, most plaintiffs’ reports were never circulated.
                   20   For them, the Court reasoned that the “mere presence of an inaccuracy in an internal credit file, if
                   21   it is not disclosed to a third party, causes no concrete harm” sufficient for standing. Id. at 434.
                   22           The standing principles articulated in TransUnion were recently applied by the district court
                   23   in Raw Story, which addressed removal of CMI in the context of training OpenAI’s LLMs, and
                   24   resulted in dismissal under Rule 12(b)(1). In Raw Story, plaintiffs alleged that OpenAI had ingested
                   25   their “copyrighted works of journalism,” “stripped” them of their CMI, and “input” the content into
                   26   ChatGPT’s repository in violation of Section 1202(b)(1). See 2024 WL 4711729, at *1. As here,
                   27   however, the complaint did not allege any specific instances of ChatGPT outputting the plaintiffs’
                   28   work without CMI; the plaintiffs only suggested “a substantial likelihood” of this possibility. Id.
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                                                                             6                      MOTION TO DISMISS THE TAC
                                                                                                         3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC         Document 413         Filed 01/31/25      Page 12 of 21



                    1   at *1. The district court explained that it was not enough for the plaintiffs to allege that their
                    2   “copyrighted works (absent CMI) were used to train an AI-software program and remain in [a]
                    3   repository” (id. at *4–5), as this failed to identify “any actual adverse effects stemming from this
                    4   alleged DMCA violation.” Id. Additionally, after reviewing the legislative history of the DMCA,
                    5   the court expressed skepticism that “mere removal of identifying information from a copyrighted
                    6   work—absent dissemination— has any historical or common-law analogue,” let alone the close
                    7   analogue required. Id. at *4 (emphasis in original). Without such a “close relationship to a harm
                    8   traditionally recognized as providing a basis for a lawsuit in American courts,” id. at *2–4, the
                    9   Section 1202(b)(1) claim could not survive dismissal under TransUnion. Id.
                   10          Plaintiffs’ Section 1202(b)(1) claim closely parallels the one dismissed in Raw Story and
                   11   requires the same result. Like OpenAI, Meta is alleged to have removed CMI outside of public
                   12   view, prior to training certain of its models. And like the plaintiffs in Raw Story, Plaintiffs do not
                   13   allege that they suffered harm with a close historical analogue, such as the dissemination of their
                   14   works with false or omitted CMI. That is, Plaintiffs still do not identify a single instance in which
                   15   anyone has ever used Llama to reproduce Plaintiff’s books without their CMI—the one theory this
                   16   Court previously explained might support a claim. Dkt. 52 at 23.2 See TransUnion, 594 U.S. at
                   17   414 (explaining that “[t]he mere existence of inaccurate information, absent dissemination,
                   18   traditionally has not provided the basis for a lawsuit in American courts”). Indeed, as the Supreme
                   19   Court explained in TransUnion, “where allegedly inaccurate or misleading information sits in a
                   20   company database, the plaintiffs’ harm is roughly the same, legally speaking, as if someone wrote
                   21   a defamatory letter and then stored it in her desk drawer,” which is to say, no harm at all. Id. at
                   22   434.3 Because Plaintiffs have not asserted an injury caused by Meta’s alleged removal of CMI,
                   23   they lack both Article III standing and statutory standing under Section 1203. See Doe 1 v. Github,
                   24   Inc., 672 F. Supp. 3d 837, 850–52 (N.D. Cal. 2023) (finding the mere chance of “increased risk”
                   25   2
                          Indeed, Plaintiffs have amended their complaint twice and with discovery closed, have not
                        asserted any claim relating to the output of Llama or that Llama reproduces their books. Moreover,
                   26   Plaintiffs have admitted the lack of any evidence of loss of books sales due to Llama or its
                        output. See, e.g. Dkt. 329-10 (admitting no evidence of loss of books sales due to Llama).
                   27   3
                          Any argument that Plaintiffs’ works are allegedly kept in Meta’s datasets (e.g., TAC ¶ 35) is
                   28   insufficient to establish standing. Phillips v. U.S. Customs & Border Prot., 74 F.4th 986, 992 (9th
                        Cir. 2023) (“Under [TransUnion], the retention of records alone [is not] a concrete injury.”).
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                                                                          7                     MOTION TO DISMISS THE TAC
                                                                                                     3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC          Document 413       Filed 01/31/25      Page 13 of 21



                    1   that plaintiffs’ information, input into an AI’s model “training data,” may eventually be outputted
                    2   with “missing or incorrect attribution [or] copyright notices” “cannot provide standing for
                    3   [p]laintiffs’ damages claims”).4
                    4                  2.      Plaintiffs Fail to State a Claim under §1202(b)(1)
                    5          Even if Plaintiffs could allege standing and injury under Article III and Section 1203, which
                    6   they cannot, their DMCA claim must still be dismissed. Section 1202(b)(1) of the DMCA prohibits
                    7   intentional removal of CMI with knowledge or “reasonable grounds to know, that it will induce,
                    8   enable, facilitate, or conceal” infringement. A plaintiff “must make an affirmative showing, such
                    9   as by demonstrating a past ‘pattern of conduct’ or ‘modus operandi,’ that the defendant was aware
                   10   or had reasonable grounds to be aware of the probable future impact of its actions.” Stevens v.
                   11   Corelogic, Inc., 899 F.3d 666, 674 (9th Cir. 2018). This requires factual allegations “plausibly
                   12   showing that the alleged infringer had this required mental state.” Andersen v. Stability AI Ltd.,
                   13   700 F. Supp. 3d 853, 871 (N.D. Cal. Oct. 30, 2023); Philpot v. Alternet Media, Inc., 2018 WL
                   14   6267876, at *5 (N.D. Cal. Nov. 30, 2018) (dismissing DMCA claim where plaintiff “fail[ed] to
                   15   plead any facts showing that [defendant] had the required mental state”). The TAC’s conclusory
                   16   allegations fall short for several reasons.
                   17          First, Plaintiffs’ theory of “CMI-removal-as-infringement-concealment” is vague and
                   18   nonsensical. They suggest CMI removal hides Meta’s infringement because “the models cannot
                   19   regurgitate data they are not trained on,” TAC ¶ 90, but there’s no plausible explanation of how the
                   20   presence or absence of CMI in training data is supposed to correlate with revealing Meta’s alleged
                   21   infringement. They do not allege that the CMI removal somehow stymied anyone (including
                   22   Plaintiffs, themselves) from learning what Llama was trained on or that including CMI in the
                   23   training data would have made this easier to discern. Tellingly, though fact discovery has closed,
                   24   the TAC does not cite to any documents or deposition testimony supporting Plaintiffs’ theory that
                   25   Meta removed CMI to aid or conceal infringement. Yet, at the same time Plaintiffs acknowledge
                   26   that removal of CMI facilitates training (TAC ¶ 90), which is inconsistent with their theory of
                   27
                        4
                   28     Plaintiffs have appealed a subsequent order in Github dismissing this claim again on different
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                        grounds to the Ninth Circuit. That appeal is not directed to the decision cited herein.
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                                                                         8                     MOTION TO DISMISS THE TAC
                                                                                                    3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC          Document 413         Filed 01/31/25       Page 14 of 21



                    1   concealment.
                    2           Second, Plaintiffs baldly allege that Meta knew or had reason to know that removal of CMI
                    3   “would induce, enable, facilitate, or conceal … the copyright infringement of others.” (Id. ¶ 108
                    4   (emphasis added). This claim resembles a similar one that the Court previously dismissed.
                    5   Compare Dkt. 1 ¶ 52 (alleging that removal of CMI from training data would facilitate infringement
                    6   “by concealing the fact that every output from the LLaMA language models” (i.e., outputs
                    7   generated by others), “is an infringing derivative work”) with Dkt. 56 at 3 (Order dismissing DMCA
                    8   claim). Once again, Plaintiffs “identify no instance in which the removal of CMI” has aided or
                    9   concealed infringement, because they still allege no instance in which Llama has ever been used to
                   10   generate an infringing output, much less one that infringes Plaintiffs’ at-issue works. Stevens, 899
                   11   F.3d at 675–76. This theory made no sense in 2023 and makes no sense today.
                   12           Third, the claim fails because Plaintiffs do not and cannot plausibly allege that Meta
                   13   intentionally removed CMI from Plaintiffs’ books with knowledge or reason to know that doing so
                   14   would conceal Meta’s alleged infringement of those books. Rather, all plausible inferences are
                   15   wholly inconsistent with that theory. “[T]he mental state requirement in Section 1202(b)” has “a
                   16   more specific application than the universal possibility of encouraging infringement; specific
                   17   allegations as to how identifiable infringements ‘will’ be affected are necessary.” Id. at 674–76
                   18   (affirming grant of summary judgment to defendant on § 1202(b) claim) (emphasis added). A
                   19   “plaintiff must provide evidence from which one can infer that future infringement is likely, albeit
                   20   not certain, to occur as a result of the removal or alteration of CMI.” Id. at 675; see Mills v. Netflix,
                   21   Inc., 2020 WL 548558, at *3 (C.D. Cal. Feb. 3, 2020) (dismissing DMCA claim because scienter
                   22   was inadequately pleaded); Victor Elias Photography, LLC v. Ice Portal, Inc., 43 F.4th 1313, 1325
                   23   (11th Cir. 2022) (“[T]he statute’s plain language requires some identifiable connection between the
                   24   defendant’s actions and the infringement or the likelihood of infringement.”).
                   25           The allegations in the TAC do not allow such an inference. Meta voluntarily published that
                   26   it used the Books3 dataset (containing text from Plaintiffs’ books) to train Llama 1, a fact which
                   27

                   28
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                                                                           9                      MOTION TO DISMISS THE TAC
                                                                                                       3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC         Document 413         Filed 01/31/25      Page 15 of 21



                    1   was the premise of the original Complaint.5 Dkt. 1 ¶¶ 23-30, 38. It is irrelevant whether Meta later
                    2   removed CMI from other datasets used to train Llama 3 (not released until April 2024 (see TAC ¶
                    3   84)), because by then Plaintiffs already knew that Meta had used a dataset containing text from
                    4   their books. Further, any datasets used (and any CMI removal) after Plaintiffs’ lawsuit was filed
                    5   (see id. ¶¶ 84–88) was subject to disclosure, belying any connection between CMI removal and
                    6   concealment of purported infringement of Plaintiffs’ works. There simply is no plausible basis to
                    7   conclude that Meta’s removal of CMI from pretraining data aided or concealed infringement of
                    8   Plaintiffs’ at-issue works, let alone that Meta’s actions were undertaken for this purpose. The claim
                    9   must be dismissed.
                   10          B.    The TAC Fails to State a Claim for Violation of the CDAFA (Claim 3)
                   11          Plaintiffs’ attempt to characterize Meta’s torrenting and alleged seeding of portions of
                   12   LibGen as a violation of CDAFA is akin to trying to fit a square peg into a round hole. CDAFA is
                   13   primarily an “anti-hacking statute intended to prohibit the unauthorized use of any computer system
                   14   for improper or illegitimate purpose.” Sunbelt Rentals, Inc. v. Victor, 43 F. Supp. 3d 1026, 1032
                   15   (N.D. Cal. 2014). Plaintiffs claim that by downloading data from the LibGen dataset via bit torrent
                   16   and allegedly “seeding” that data, Meta violated subsection (c)(2) of the statute, which prohibits
                   17   “[k]nowingly access[ing] and without permission tak[ing], cop[ying], or mak[ing] use of any data
                   18   from a computer, computer system, or computer network[.]” Cal. Penal Code § 502(c)(2). This
                   19   recasting of Plaintiffs’ core copyright claim is both preempted and otherwise legally untenable.
                   20                  1.      The Copyright Act Preempts Plaintiffs’ CDAFA Claim
                   21          The Court has already signaled skepticism of the CDAFA claim, and rightfully so. See Jan.
                   22   9, 2025 Tr. at 4:9–11 (“it seems like there’s probably a pretty good argument that the CDAFA claim
                   23
                        5
                   24     As Plaintiffs know—and have alleged—“in preparing [] dataset[s] for use in training its models,
                        [Meta] removed repetitive data,” which included by way of example, the word copyright, the ©
                   25   symbol, excessive new line characters (\n), and “all rights reserved,” as well as lines that are at
                        least 100 words long that contain fewer than 8% unique words, among other repetitive content.
                   26   See, e.g., Dkt. 395-8 at 89798-89799 (listing removal of this repetitive information as one of several
                        “improvements”) (emphasis added). According to the TAC, Meta did this by “script” across all
                   27   books “to facilitate Meta’s use of these works as training data for Llama 3” and to avoid
                        “regurgitation” of CMI (id. ¶¶ 88–90). These allegations do not even plausibly establish that Meta
                   28   targeted Plaintiffs’ books for CMI removal, much less that it did so with intent to “hide” any
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                        purported infringement of those books.
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                                                                         10                     MOTION TO DISMISS THE TAC
                                                                                                     3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC         Document 413         Filed 01/31/25      Page 16 of 21



                    1   is preempted…”). Under the Copyright Act, “all legal or equitable rights that are equivalent to any
                    2   of the exclusive rights within the general scope of copyright as specified by section 106 … are
                    3   governed exclusively by this title,” and no person “is entitled to any such right or equivalent right
                    4   in any such work under the common law or statutes of any State.” 17 U.S.C. § 301(a). Courts use
                    5   a two-part test to assess whether a state law claim is preempted. The court first asks “whether the
                    6   subject matter of the state law claim falls within the subject matter of copyright as described in 17
                    7   U.S.C. §§ 102 and 103.” Maloney v. T3Media, Inc., 853 F.3d 1004, 1010 (9th Cir. 2017) (cleaned
                    8   up). If so, it then assesses “whether the rights asserted under state law are equivalent to the rights
                    9   contained in 17 U.S.C. § 106.” Laws v. Sony Music Entm’t, Inc., 448 F.3d 1134, 1138 (9th Cir.
                   10   2006). Under this test, the CDAFA claim is preempted.
                   11          To begin, the “subject matter” of the CDAFA claim is Plaintiffs’ books, which fall squarely
                   12   within the subject matter of copyright. See Maloney, 853 F.3d at 1011. Plaintiffs concede that the
                   13   “data” at issue in their CDAFA claim consists of the allegedly “Infringed Works,” TAC ¶ 111,
                   14   which are defined as “the copyrighted books that Meta copied and used without permission to train
                   15   Llama, regardless of where or how Meta downloaded or otherwise accessed the books,” id. ¶ 46
                   16   (emphasis added). The Infringed Works also form the basis of Plaintiffs’ copyright infringement
                   17   claim. See, e.g., id. ¶ 100 (“Meta made copies of the Infringed Works during the training process
                   18   to develop Llama without Plaintiffs’ permission”). Plaintiffs’ CDAFA claim thus involves works
                   19   within the subject matter of copyright—easily satisfying the first prong of the preemption test. See
                   20   17 U.S.C. § 102 (literary works are the subject matter of copyright); see also Tremblay v. OpenAI,
                   21   Inc., 2024 WL 3640501, at *2 (N.D. Cal. July 30, 2024) (holding that UCL claim fell under subject
                   22   matter of copyright where claim involved unauthorized use of plaintiffs’ books).
                   23          As to the second prong of the test, the rights Plaintiffs assert under the CDAFA claim are
                   24   “equivalent to the rights contained” in Section 106. Laws, 448 F.3d at 1138. “To survive
                   25   preemption, the state cause of action must protect rights which are qualitatively different from the
                   26   copyright rights. The state claim must have an extra element which changes the nature of the
                   27   action.” Maloney at 1019 (cleaned up). Even if a state law claim has different elements, it may
                   28   still be preempted if its claims “are part and parcel of the copyright claim.” Laws, 448 F.3d at 1144.
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                                                                         11                     MOTION TO DISMISS THE TAC
                                                                                                     3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC         Document 413        Filed 01/31/25       Page 17 of 21



                    1          Plaintiffs allege that Meta violated Section 502(c)(2) by “obtaining pirated, unlicensed,
                    2   hacked, downloaded, and/or scraped versions of the Infringed Works via bit torrent protocols for
                    3   use to train Llama models and by sharing, distributing, and/or uploading the same works in the
                    4   process.” TAC ¶ 111; see id. ¶¶ 43, 87, 110–114. Essentially, they claim that Meta downloaded
                    5   (copied) their “Infringed Works” from unauthorized websites and distributed them without their
                    6   permission. Both acts fall squarely within the exclusive rights afforded by Sections 106(1) and (3)
                    7   of the Copyright Act. Indeed, this is nothing more than a transparent reframing of their core
                    8   copyright infringement claim, as illustrated in the table below:
                    9              Plaintiffs’ CDAFA Claim                        Plaintiffs’ Copyright Claim
                                         (TAC ¶ 111):                                  (TAC ¶¶ 98–101):
                   10
                            “By obtaining pirated, unlicensed,           “To train Llama…Meta also downloaded and
                   11      hacked, downloaded, and/or scraped            copied millions of additional pirated books,
                           versions of the Infringed Works via bit       including the Infringed Works from various
                   12      torrent protocols for use to train Llama      shadow libraries…Plaintiffs never authorized
                           models and by sharing, distributing,          Meta to make copies of their Infringed
                   13      and/or uploading the same works in the        Works…Meta made copies of the Infringed
                           process, Defendant knowingly accessed         Works during the training process to develop
                   14      and used data owned by Plaintiffs’ (i.e.,     Llama without Plaintiffs’ permission. During
                           the     Infringed     Works)      without     the download process of LibGen and other
                   15      permission…”                                  shadow libraries…Meta also operated as a
                                                                         distributor of the pirated works…”
                   16

                   17          Courts, including this Court, routinely find that state-law claims grounded in allegations of

                   18   copyright infringement are preempted. See, e.g., Dkt. 56 (dismissing Plaintiffs’ unfair competition,

                   19   unjust enrichment, and negligence claims as relying on the same rights contained in the Copyright

                   20   Act and thus preempted); Regal Art & Gifts, Inc. v. Fusion Prod., Ltd., 2016 WL 454116, at *7

                   21   (N.D. Cal. Feb. 5, 2016) (dismissing claims for intentional interference, negligent interference, and

                   22   unfair competition as preempted where based “wholly on Defendants’ allegedly unauthorized

                   23   copying and distribution” of the plaintiffs’ copyrighted work); see also VBConversions, LLC v.

                   24   Blueswitch, LLC, No. 2:25-cv-09372 (C.D. Cal. Mar. 18, 2016), ECF No. 58 (Anderson, J.)

                   25   (granting motion to dismiss CDAFA claim as preempted by the DMCA).

                   26          In their Motion for Leave to Amend, Plaintiffs argued that their CDAFA claim is not

                   27   preempted because “the focus on unauthorized access to [their…] texts gives the CDAFA statute

                   28   an ‘extra element’ that makes it ‘qualitatively different’ from copyright law.” Dkt. 376 at 10 n.6
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                                                                         12                      MOTION TO DISMISS THE TAC
                                                                                                      3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC         Document 413         Filed 01/31/25      Page 18 of 21



                    1   (citations omitted). However, as Meta then noted, the cases cited by Plaintiffs were readily
                    2   distinguishable. See Dkt. 378 at 13. For example, Altera Corp. v. Clear Logic, Inc. dealt with a
                    3   contractual right of access to “use of the bitstream,” not “reproduction of the software.” 424 F.3d
                    4   1079, 1089 (9th Cir. 2005). Capitol Audio Access, Inc. v. Umemoto involved unauthorized access
                    5   to payment- and password-protected portions of the plaintiff’s website “in direct contravention of
                    6   the User License and User Agreement.” 980 F. Supp. 2d 1154, 1156 (E.D. Cal. 2013). Grosso v.
                    7   Miramax Film Corp. also concerned a separate contractual right. 383 F.3d 965, 968 (9th Cir. 2004).
                    8   In this case, Meta’s copying and alleged distribution (by “seeding”) of Plaintiffs’ “Infringed
                    9   Works” (books) without authorization forms the sole factual basis of the CDAFA claim. That is
                   10   nothing more than a copyright claim and, hence, preempted.6
                   11                  2.      The TAC Fails to Plausibly Allege a Violation of Section 502(c)(2)
                   12          CDAFA imposes liability if one “[k]nowingly accesses and without permission takes,
                   13   copies, or makes use of any data from a computer, computer system, or computer network[.]” Cal.
                   14   Penal Code § 502(c)(2); United States v. Christensen, 828 F.3d 763, 789 (9th Cir. 2015). Plaintiffs
                   15   fail to plausibly allege conduct by Meta that violates § 502(c)(2), let alone meets the heightened
                   16   pleading standard under Rule 9(b).
                   17          First, there is no legal basis for Plaintiffs’ attenuated theory of liability under CDAFA. The
                   18   statute requires that the claimant be “the owner or lessee of the computer, computer system,
                   19   computer network, computer program, or data” allegedly accessed without permission. Cal. Pen.
                   20   Code § 502(e)(1).7 But Plaintiffs do not allege this in the TAC, because they cannot. Instead, at
                   21   most, Plaintiffs allege that Meta downloaded datasets created by third parties from computer
                   22   systems operated by third parties. This is too far removed to support a CDAFA claim. See Claridge
                   23   v. RockYou, Inc., 785 F. Supp. 2d 855, 863 (N.D. Cal. 2011) (“[I]t is less than clear that [CDAFA]
                   24   is meant to subject individuals or entities to liability who took no active role in tampering with, or
                   25
                        6
                   26     Copyright infringement itself requires proof of “access” and “substantial similarity” in protectable
                        expression. Transgo, Inc. v. Ajac Transmission Parts Corp., 768 F.2d 1001, 1018 (9th Cir. 1985).
                        7
                   27     Section 502(a) explains that the statute’s intent was to “expand the degree of protection afforded
                        to individuals, businesses, and governmental agencies from tampering, interference, damage, and
                   28   unauthorized access to lawfully created computer data and computer systems.” Cal. Pen. Code §
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                        502(a) (emphasis added).
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                                                                         13                     MOTION TO DISMISS THE TAC
                                                                                                     3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC         Document 413         Filed 01/31/25      Page 19 of 21



                    1   in gaining unauthorized access to computer systems.”). Indeed, Meta is not aware of a single case—
                    2   and Plaintiffs have yet to cite one—in which a CDAFA claimant did not own or control the
                    3   computer systems or data repositories allegedly accessed.
                    4          As they did earlier (Dkt. 376 at 10), Plaintiffs may point to Biden v. Ziegler, where the court
                    5   rejected an argument that CDAFA requires a defendant to access a physical computer or device
                    6   belonging to or controlled by the plaintiff. 737 F. Supp. 3d 958, 976 (C.D. Cal. 2024). But this
                    7   case is readily distinguishable on its facts. In Biden, there was no question that the plaintiff owned
                    8   and controlled the set of files at issue, which consisted of his emails, photos, videos, and records
                    9   from a copy of his laptop hard drive or from his encrypted phone backup stored by him on the
                   10   cloud. Id. at 966. Further, the plaintiff there alleged – unlike here – that the defendants “used his
                   11   passwords to access password-protected files and ignored prelitigation demands to cease and
                   12   desist[].” Id. at 976 (emphasis added). Similarly, in West v. Ronquillo-Morgan (previously cited
                   13   at Dkt. 377 at 10), the court denied a motion to dismiss a CDAFA claim, holding that “the data was
                   14   obtained from Plaintiff’s computer and therefore the data was ‘hers.’” 526 F. Supp. 3d 737, 746
                   15   (C.D. Cal. 2020).
                   16          Here, the TAC contains no allegations regarding how Plaintiffs’ copyrighted works made it
                   17   into the datasets that Meta downloaded, much less that Plaintiffs created those datasets or owned
                   18   or controlled the websites or computers on which those datasets were maintained. Moreover, the
                   19   computer systems and datasets that Meta accessed were publicly available. This is a far cry from
                   20   cases like Christensen, in which the defendants paid SBC employees to access and share the
                   21   victims’ personal phone conversations on SBC’s systems. Christensen, 828 F.3d at 789. Plaintiffs
                   22   have thus failed to allege any computer fraud perpetrated upon them, either generally or with the
                   23   particularity required under Rule 9(b)’s heightened pleading standard. Kaplan, 49 F.3d at 1370.
                   24   Indeed, the TAC specifically acknowledges that the datasets Meta used were compiled by third
                   25   party “websites,” not Plaintiffs or Meta, see, e.g., TAC ¶ 43, taking this claim outside of CDAFA’s
                   26   plausible ambit. Were it otherwise, a copyright defendant would be subject to potential liability
                   27   under a state criminal statute whenever it downloads copyrighted content from the internet without
                   28
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ATTORNEYS AT LAW                                                                          DEFENDANT META PLATFORMS, INC.’S
                                                                         14                     MOTION TO DISMISS THE TAC
                                                                                                     3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC          Document 413         Filed 01/31/25      Page 20 of 21



                    1   permission—something no court has ever sanctioned. This Court should decline to read into CDAFA
                    2   the unprecedented breadth required to sustain Plaintiffs’ application of it here.
                    3          Second, Plaintiffs do not allege the requisite damage or loss to support their CDAFA claim.
                    4   Under the statute, compensatory damages include “any expenditure reasonably and necessarily
                    5   incurred by the owner or lessee to verify that a computer system, computer network, computer
                    6   program, or data was or was not altered, damaged, or deleted by the access.” Cal. Pen. Code §
                    7   502(e)(1). As such, CDAFA “contemplates some damage to the computer system, network,
                    8   program, or data[.]” Heiting v. Taro Pharms. USA, Inc., 709 F. Supp. 3d 1007, 1021 (C.D. Cal.
                    9   2023); see also Pratt v. Higgins, 2023 WL 4564551, at *9 (N.D. Cal. July 17, 2023) (“In the context
                   10   of a § 502 violation, ‘loss’ has been defined to encompass costs related to fixing a computer, lost
                   11   revenue, or other consequential damages incurred due to an interruption of computer services.”).
                   12   The TAC, however, contains no such allegations of damage.
                   13          In conclusory fashion, Plaintiffs allege that they “have been harmed in an amount to be
                   14   determined at trial, including but not limited to lost royalties, reputational damages, and other
                   15   consequential losses,” which is insufficient. TAC ¶ 114. See Pratt, 2023 WL 4564551, at *9
                   16   (holding plaintiff’s request for “damages in a sum to be determined at trial” insufficient).8 Even
                   17   “loss of the right to control…, the loss of the value of…, and the loss of the right to protection of”
                   18   their data, are not types of loss covered by the CDAFA. See Cottle v. Plaid Inc., 536 F. Supp. 3d
                   19   461, 488 (N.D. Cal. 2021); Doe v. Meta Platforms, Inc., 690 F. Supp. 3d 1064, 1081-83 (N.D. Cal.
                   20   2023) (finding allegations that protected information was diminished in value did not qualify as
                   21   damage or loss under CDAFA). Plaintiffs’ CDAFA claim separately fails on this basis.
                   22   V.     CONCLUSION
                   23          For the foregoing reasons, Meta asks the Court to dismiss with prejudice the Section
                   24   1202(b)(1) and CDAFA claims.
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                   28    To the extent Plaintiffs are asserting lost “royalties,” that only further underscores that this claim
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                        should be preempted under copyright.
ATTORNEYS AT LAW                                                                            DEFENDANT META PLATFORMS, INC.’S
                                                                          15                      MOTION TO DISMISS THE TAC
                                                                                                       3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC     Document 413     Filed 01/31/25     Page 21 of 21



                    1   Dated: January 31, 2025                          COOLEY LLP
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